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12                                    UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                          SAN JOSE DIVISION
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16   In re Ex Parte Application of                   CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                     [PROPOSED] ORDER GRANTING
18   Applicant,                                      DR. ESHELMAN’S EX PARTE APPLICATION
                                                     FOR AN ORDER PURSUANT TO 28 U.S.C.
19   For an Order Pursuant to 28 U.S.C. § 1782       § 1782 GRANTING LEAVE TO OBTAIN
     Granting Leave to Obtain Discovery for Use in   DISCOVERY FOR USE IN FOREIGN
20   Foreign Proceedings.                            PROCEEDINGS
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     CASE NO. 5:23-mc-80015                                                   [PROPOSED] ORDER
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 1                                          [PROPOSED] ORDER

 2          This matter comes before the Court on Dr. Fredric N. Eshelman’s Ex Parte Application for an

 3 Order Pursuant to 28 U.S.C. § 1782 Granting Leave to Obtain Discovery for Use in Foreign Proceedings

 4 (the “Application”), seeking discovery from Google LLC (“Google”) in connection with contemplated

 5 legal proceedings in Germany and India.

 6          The Court, having fully considered the Application, and good cause appearing, HEREBY

 7 GRANTS the Application.

 8          IT IS HEREBY ORDERED that:

 9          Dr. Fredric N. Eshelman is granted leave to issue a subpoena for a deposition and a subpoena for

10 certain documents to Google, in a form substantially similar to the subpoenas attached as Exhibit A and

11 Exhibit B, respectively, to the Application.

12          IT IS SO ORDERED.

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14 Dated: _____________________                         ____________________________________

15                                                      United States District Judge

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     CASE NO. 5:23-mc-80015                                                             [PROPOSED] ORDER
